         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2853
                 LT Case No. 2016-102293-CFDL
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EMMANUEL ROSADO,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Volusia County.
Dawn D. Nichols, Judge.

Emmanuel Rosado, Madison, pro se.

Ashley Moody, Attorney General, Tallahassee, and Whitney
Brown Hartless, Assistant Attorney General, Daytona Beach, for
Appellee.


                        August 27, 2024


PER CURIAM.

    AFFIRMED.


SOUD, KILBANE, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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